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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


LISA R. RESPRESS,                    :
                                     :
      Plaintiff,                     :
                                     :
vs.                                  :   CIVIL ACTION 05-0141-M
                                     :
JO ANNE B. BARNHART,                 :
Commissioner of                      :
Social Security,                     :
                                     :
      Defendant.                     :


                    MEMORANDUM OPINION AND ORDER


      Pending before the Court is Plaintiff's Motion for Award

of Attorney’s Fees Pursuant to the Equal Access to Justice Act

(Doc. 20), and Defendant's Response to Plaintiff’s Application

for Attorney Fees Under the EAJA (Doc. 21).           After

consideration of the pertinent pleadings, it is ORDERED that

Plaintiff’s Motion be GRANTED, without objection, and that

Plaintiff's attorney be AWARDED an EAJA attorney's fee in the

amount of $1,662.50.

      Plaintiff filed this action on March 8, 2005 (Doc. 1).

On October 11, 2005, the Court granted, without objection from

Plaintiff, Defendant’s Motion and Memorandum for Entry of

Judgment Pursuant to Sentence Four of 42 U.S.C. § 405(g) With

Remand of the Cause to Defendant (Doc. 15), reversing and
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remanding this action to the Commissioner for further

proceedings (Docs. 18, 19).           On November 1, 2005, Gilbert B.

Laden, counsel for Plaintiff, filed a Motion for Award of

Attorney’s Fees Pursuant to the Equal Access to Justice Act,

in which Plaintiff requests a fee of $1,662.50, computed at an

hourly rate of $125.00 for 13.3 hours spent in this Court

(Doc. 20).       Defendant in her Response filed November 15, 2005,

stated that she has no objection to the requested fee (Doc.

21)1.

        The EAJA requires a court to

              award to a prevailing party ... fees and
              other expenses ... incurred by that party
              in any civil action ..., including
              proceedings for judicial review of Agency
              action, brought by or against the United
              States ..., unless the court finds that the
              position of the United States was
              substantially justified or that special
              circumstances make an award unjust.

28 U.S.C. § 2412(d)(1)(A).           The EAJA further requires that a

prevailing party file an application for attorney's fees

within thirty days of final judgment in the action.                 28 U.S.C.

§ 2412(d)(1)(B).         The court's judgment is final sixty days

after it is entered, which is the time in which an appeal may



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     Defendant notes in her Response that Plaintiff filed the
Motion for Award of Attorney Fees earlier than contemplated by
the statute; however, because Defendant is not appealing this
Court’s Judgment, she does not oppose the early filing.

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be taken pursuant to Rule 4(a) of the Federal Rules of

Appellate Procedure.     See Shalala v. Schaefer, 509 U.S. 292,

113 S.Ct. 2625, 2632 (1993).

    Defendant concedes that Plaintiff became the prevailing

party when the Court remanded this action, Schaefer, 113 S.Ct.

at 2631; that the fee application was timely filed; and that

her position was not substantially justified (Doc. 21).

    The EAJA, like 42 U.S.C. § 1988, is a fee-shifting

statute.   The Supreme Court has indicated that “‘the most

useful starting point for determining the amount of a

reasonable fee is the number of hours reasonably expended on

the litigation multiplied by a reasonable hourly rate.’”

Watford v. Heckler, 765 F.2d 1562, 1586 (11th Cir. 1985)(EAJA),

quoting Hensley v. Eckerhartt, 461 U.S. 424, 433, 103 S.Ct.

1933, 1939 (1983)(§ 1988).      In describing this lodestar method

of calculation, the United States Supreme Court stated:

           This calculation provides an objective
           basis on which to make an initial estimate
           of the value of a lawyer’s services. The
           party seeking an award of fees should
           submit evidence supporting the hours worked
           and the rates claimed. Where the
           documentation of hours is inadequate, the
           district court may reduce the award
           accordingly. The district court also
           should exclude from this initial fee
           calculation hours that were not “reasonably
           expended” .... Cases may be overstaffed,
           and the skill and experience of lawyers
           vary widely. Counsel for the prevailing

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         party should make a good-faith effort to
         exclude from a fee request hours that are
         excessive, redundant, or otherwise
         unnecessary, just as a lawyer in private
         practice ethically is obligated to exclude
         such hours from his fee submission. In the
         private sector, ‘billing judgment’ is an
         important component in fee setting. It is
         no less important here. Hours that are not
         properly billed to one’s client also are
         not properly billed to one’s adversary
         pursuant to statutory authority.

Hensley, 461 U.S. at 434 (citations omitted).          Counsel must

use professional judgment in billing under EAJA.           A lawyer

should only be compensated for hours spent on activities for

which he would bill a client of means who was seriously intent

on vindicating similar rights.         Norman v. Housing Authority,

836 F.2d 1292, 1301 (11th Cir. 1988).

     The Court, after examination of Plaintiff’s Motion and

supporting documentation, and after consideration of the

reasonableness of the hours claimed, finds that Plaintiff’s

time expended in prosecuting this action before this Court for

a total of 13.3 hours is reasonable.

    With respect to a determination of the hourly rate to

apply in a given EAJA case, the express language of the Act

provides in pertinent part as follows:

         The amount of fees awarded under this
         subsection shall be based upon prevailing
         market rates for the kind and quality of
         the services furnished, except that ...
         attorney fees shall not be awarded in

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            excess of $125 per hour unless the court
            determines that an increase in the cost of
            living or a special factor, such as the
            limited availability of qualified attorneys
            for the proceedings involved, justifies a
            higher fee.

28 U.S.C. § 2412(d)(2)(A)(Supp. 1997).

     In Meyer v. Sullivan, 958 F.2d 1029 (11th Cir. 1992), the

Eleventh Circuit determined that the EAJA establishes a two-

step analysis for determining the appropriate hourly rate to be

applied in calculating attorney's fees under the Act.

            The first step in the analysis, ... is to
            determine the market rate for "similar
            services [provided] by lawyers of
            reasonably comparable skills, experience,
            and reputation." ... The second step,
            which is needed only if the market rate is
            greater than $75 per hour, is to determine
            whether the court should adjust the hourly
            fee upward...to take into account an
            increase in the cost of living, or a
            special factor.

Id. at 1033-34 (citations omitted & footnote omitted)2.                 The

applicant bears the burden of producing satisfactory evidence

that the requested rate is in line with prevailing market

rates.    NAACP v. City of Evergreen, 812 F.2d 1332, 1338 (11th

Cir. 1987).     Satisfactory evidence at a minimum is more than

the affidavit of the attorney performing the work.              Blum v.



      2 Subsequent to Meyer, the cap was raised from $75.00 per hour
to $125.00 per hour, as set out above in 28 U.S.C. §
2412(d)(2)(A)(Supp. 1997).

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Stenson, 465 U.S. 886, 104 S.Ct. 1541, 1547 n.11 (1984).             Where

the fees or time claimed seem expanded or there is lack of

documentation or testimony in support, the court may make an

award on its own experience.      Norman v. City of Montgomery, 836

F.2d 1292, 1303 (11th Cir. 1988).       Where documentation is

inadequate, the court is not relieved of its obligation to

award a reasonable fee, but the court traditionally has had the

power to make such an award without the need of further

pleadings or an evidentiary hearing.        Id.

    The prevailing market rate in the Southern District of

Alabama is $125.00 per hour.      See Smith v. Massanari, Civil

Action 00-0812-P-M (October 25, 2001); Boone v. Apfel, Civil

Action 99-0965-CB-L (August 30, 2001); Lee v. Massanari, Civil

Action 00-0518-RV-S (June 29, 2001); Willits v. Massanari,

Civil Action 00-0530-RV-C (May 4, 2001); and Square v. Halter,

Civil Action 00-0516-BH-L (April 12, 2001).         Because the market

rate is not greater than the statutory rate of $125.00 per

hour, the Court need not reach the second step set out in the

Meyer case.   Multiplying the 13.3 hours by the Southern

District of Alabama inflation-adjusted prevailing market rate

of $125.00 results in a fee of $1,662.50.

    In conclusion, it is ORDERED, without objection, that

Plaintiff's Motion be and is hereby GRANTED as set out above


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and that Plaintiff's attorney be and is hereby AWARDED an EAJA

attorney's fee in the amount of $1,662.50.

    DONE this 28th day of November, 2005.

                                s/BERT W. MILLING, JR.
                                UNITED STATES MAGISTRATE JUDGE




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